 Case 2:19-cv-00598-DAK Document 17 Filed 11/13/19 PageID.73 Page 1 of 3




             UNITED STATES DISTRICT COURT        , , " ,., FJ_LED
    FOR THE DISTRICT OF UTAH, SALT LAKE CITY DIVISlcYN 1HICT COURT
               351 South West Temple, Rm. 1.100
                   Salt Lake City, UT 84101
                        (801) 524-6100
                                                                '\~.




ANDREWU. D. STRAW,               )
Plaintiff,                       )       Case No.: 2:19-cv-00598
v.                               )
AON PLC,                         )       Hon. Dale A. Kimball
Defendant.                       )       Judge Presiding
                                 )       Hon. Evelyn J. Furse
                                 )       Magistrate Judge
                                 )       Jury Trial Demanded

                   MOTION TO DISMISS LAWSUIT
I, plaintiffAndrew U. D. Straw, make the following motion to the Court:

     I have conferred with counsel for the defendant and this matter is

now resolved. I thank the Court for processing this case.

WHEREFORE, I move the Court to dismiss this matter with prejudice.

I, plaintiffAndrew U. D. Straw, verify that the above statements are true
and correct on penalty of perjury. November 7, 2019
                Respectfully submitted,




                sf ANDREW U. D. STRAW
                700 12th ST NW, STE 700, PMB 92403
                Washington, D.C. 20005
                Telephone: (802) 552-3030 andrew@andrewstraw.com

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                     CERTIFICATE OF SERVICE

I, Andrew U. D. Straw, certify that I filed the above MOTION with the
Clerk of this Court via U.S. Mail, First class and postage prepaid using
Docsmit.com, on November 7, 2019, and this NOTICE will be served to
all counsel of record through that CM/ECF system after the Clerk scans
this and my other initiating documents.       It will be available after
scanning to the public via Pacer.gov.

Respectfully submitted,




s/ ANDREW U. D. STRAW, Pro Se
700 12th ST NW, STE 700, PMB 92403
Washington, D.C. 20005
Telephone: (802) 552-3030
andrew@andrewstraw.com




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